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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


DENTAL MONITORING,                                 §
                                                   §
        Plaintiff,                                 §
                                                   §
        v.                                         §
                                                               Civil Action No. 22-647-WCB
                                                   §
GET-GRIN INC.,                                     §
                                                   §
        Defendant.                                 §
                                                   §

                                               ORDER

        On Tuesday, December 5, 2023, the parties advised the court by email that they had a

discovery dispute in this case. They suggested a briefing schedule granting the plaintiff one week

to file its letter brief, followed by the defendant’s letter brief one week later. The court directed

the parties to file their letter briefs on a shorter briefing schedule, giving the plaintiff until 5 p.m.

Eastern Time on Friday, December 8, 2023, to file its three-page letter brief, followed by the

defendant’s responsive three-page letter brief at 5 p.m. Eastern Time on Tuesday, December 12,

2023, and an optional reply brief for the plaintiff, to be filed by 5 p.m. Eastern Time on Wednesday,

December 13, 2023.

        The plaintiff filed its opening letter brief on time. The defendant did not. Instead, at 9:04

p.m. Eastern Time, after the deadline had passed, the defendant filed a motion to extend the time

for filing its brief until 11:59 p.m. on December 12, 2023. The plaintiff did not oppose the motion,

provided it was given a one-day extension for filing its one-page reply letter. At 10:14 p.m., more

than five hours after the deadline, the defendant filed its responsive letter brief.

        Besides being filed well after the deadline for filing the responsive letter brief had passed,

the motion for an extension of time did not include any explanation for the belated filing. While


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a brief delay in filing can be assumed to be attributable to technical problems and does not require

an explanation (although one would be welcome), the delay of more than five hours in this case is

more than can be assumed to be due to technical difficulties. The defendant is therefore directed

to file a supplement to its motion for an extension explaining why it failed to meet the deadline for

filing its responsive letter brief. The supplement to its motion is due for filing by 5 p.m., Eastern

Time, today.

       The late filing deprived the plaintiff of more than five hours that the plaintiff may have

intended to use to prepare its reply. In fairness, the plaintiff should be given additional time for

its reply. However, the appropriate amount of additional time is not a full day, as proposed in the

motion, but an extension commensurate with the reduction in the plaintiff’s time for reply caused

by the late filing of the responsive brief. Accordingly, the plaintiff will be granted six additional

working hours to file its reply brief, which will therefore be due for filing on Thursday, December

14, 2023, at 3 p.m., Eastern Time.

       IT IS SO ORDERED.

       SIGNED this 13th day of December 2023.




                                              _________________________
                                              WILLIAM C. BRYSON
                                              UNITED STATES CIRCUIT JUDGE




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